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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
                                 CRIMINAL MINUTES – GENERAL

               LACR 19-00642-VAP *
 Case No.                                                          Date     January 5, 2021
               LACR 20-00155-VAP
 Title United States of America v. Imaad Shah Zuberi



 Present: The Honorable          VIRGINIA A. PHILLIPS, UNITED STATES DISTRICT JUDGE


               Christine Chung                                         Not Reported
                Deputy Clerk                                          Court Reporter


     Attorney(s) Present for Plaintiff(s):                 Attorney(s) Present for Defendant(s):
                    None                                                    None


 Proceedings:       MINUTE ORDER RE: PRESS INQUIRY (IN CHAMBERS)



        The Court has received an inquiry from representatives of the press seeking to have
sealed entries on the docket unsealed. The inquiry is attached hereto as Exhibit A.

        The Court orders the Government and Defendant to file their positions as to unsealing,
with or without redactions, by January 11, 2021.

        IT IS SO ORDERED.




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                     EXHIBIT A
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